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               Exhibit A
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                                                                             U.S. Department of Justice




                                                                             United States Attorney
                                                                             District of Arizona
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                                                        Phoenix, AZ 85004-4408

                                                        June 3, 2019


Whitney Z. Bernstein
Thomas H. Bienert, Jr.
903 Calle Amanecer, Suite 350
San Clemente, CA 92673

VIA EMAIL

         Re:     Your letter of May 23, 2019

  Dear Ms. Bernstein:

          We wish to respond to your May 23, 2019 letter. You request that the United States not
  only identify certain subsets of disclosed Electronically Stored Information (“ESI”) (e.g., specific
  data, email chains, lists of prohibited terms, certain ads, etc.), but conduct an independent analysis
  of specific data the Defense views as relevant and material to the case.

           First, the artificial deadline of responding to your May 23rd (12-page) correspondence
  within a week (admittedly this was preferable to the original 24 hours you gave us to respond) is
  unreasonable particularly in light of the fact that you have had the discovery for over a year and,
  as detailed below, most all of these issues were well known to the Defense before the April 2018
  indictment and the months that followed. Although you did not start representing Mr. Larkin until
  several weeks after arrest, many of the attorneys that are parties to a Joint Defense Agreement have
  been representing Mr. Larkin for years prior to indictment and have been involved in various
  litigation where the same discovery has been implicated. Simply put, we are struggling to
  understand why you waited over a year after indictment and discovery to make these urgent
  requests now.

          Second, in our status memorandum filed on May 31 we have provided the defense a concise
  explanation of the status of the servers. In addition, we provide a detailed explanation as to why
  the government does not intend to image the various web servers because they contain no unique
  data. In other words, the web servers stored neither website content nor images. (See CR 626.)
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        Third, for several reasons we do not agree that we are obligated to identify this information
(we are not conceding that your characterization of the evidence is accurate) in the available
discovery and provide the requested analysis of the servers. In short, Rule 16 does not obligate
the government to even attempt to identify the categories of evidence in discovery that you believe
exists and/or conduct analysis of the data on behalf of the defense. As you know, the Court, in this
case, has already opined on this issue. United States v. Lacey, et. al., 2018 WL 4963292, at *1 (D.
Ariz. Oct. 15, 2018) (“The Government has limited discovery obligations. Rule 16 of the Federal
Rules of Criminal Procedure requires the Government to, upon a defendant’s request, provide or
allow the defendant access to documents and objects in the Government’s possession. Under Rule
16, the Government must disclose any oral or written statements made by a defendant, the
defendant’s prior record, any items that are material to preparing the defense, items that the
Government intends to use in its case-in-chief, and items that were obtained from or belong to the
defendant. Fed. R. Crim. Pro. 16.”) (emphasis added).

        As you well know, the evidence and data that you seek has been the subject of discovery
in previous litigation and investigations. For example, the data contained in the discovery that you
are requesting (e.g., Backpage’s supposed cooperation with law enforcement, the percentage of
revenue generated by the adult category compared to other categories, moderation that involved
editing offending words and continuing to post an ad obviously soliciting prostitution, etc.), has
been exchanged in related civil cases since 2012. These same issues were implicated in the U.S.
Senate’s investigation of Backpage and the resulting PSI report, the prosecution by the California
Department of Justice, numerous articles, television exposes, and even a documentary movie.
And, Mr. Larkin has had the same counsel (either noticed or consulting) since 2012.

         Importantly, notwithstanding the availability of this information in other litigation and in
discovery that the United States has provided, the United States has no duty to identify exculpatory
portions (again we are neither conceding that the evidence sought exists nor is exculpatory) of
disclosed material; that is part of the defendant’s “reasonable diligence” requirement. We are,
however, aware that more may be required where the number of documents is voluminous.
United States v. Skilling, 554 F.3d 529, 576 (5th Cir. 2009). In such cases, the government satisfies
its obligations, as we have here (i.e., by providing a detailed indictment, a witness and an exhibit
list months before trial, “hot” docs, witness statements before we are obligated, etc.), where it takes
extra steps to help the defense manage the discovery, and the defense fails to show that the
disclosure was done in bad faith or with the intent to hide documents. In Skilling, the court rejected
the argument that the government should have located and turned over exculpatory evidence within
the file, finding that “the government was in no better position to locate any potentially exculpatory
evidence than was Skilling.” Id. at 577. The court instead found that “[a]s a general rule, the
government is under no duty to direct a defendant to exculpatory evidence within a larger mass of
disclosed evidence,” and rejected the defense’s argument that the government concealed favorable
information amidst millions pages of information. Id. at 576. While the government is not
permitted to act in bad faith in performing its obligations under Brady, such as purposely hiding
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Brady information in a huge open file, the affirmative steps the government took beyond merely
providing Skilling with the open file demonstrated the government’s good faith efforts to comply
with Brady. Id.; see, e.g., United States v. Salyer, 271 F.R.D. 148, 158 (E.D. Cal. 2010) (finding
that defendant was only entitled to discovery of government materials relevant to mounting a
defense and rejecting defendant’s “‘all documents’ civil type discovery request”), aff'd with
modifications by United States v. Salyer, 2010 WL 3036444 (E.D. Cal. Aug. 2, 2010); Lacey, 2018
WL 4963292, at *2 (citing Rhoads v. Henry, 638 F.3d 1027, 1039 (9th Cir. 2011), as “stating that
there is no authority for the proposition that the government’s Brady obligations require it to point
the defense to specific documents within a larger mass of material that it has already turned over”).

        In addition, much of the evidence was provided to the government by the defense. In
United States v. Warshak, 631 F.3d 266 (6th Cir. 2010), the court ruled that the provision of
massive amounts of ESI seized from defendant-corporation in an allegedly unsearchable format
was proper, in part because (as is also the case here) the government was giving the defendant
back its own information. Id. at 296. The court rejected the notion that Federal Rule of Civil
Procedure 34(b)(2)(E)(i), which requires documents to be produced in a specific format, is
applicable to criminal cases. Id. at 296 n.26. The Sixth Circuit noted that federal criminal
discovery is governed by Federal Rule of Criminal Procedure 16, which contains no similar
requirement. Id. at 296. The court found that the trial court had not abused its discretion in ruling
that defendants were not deprived of a fair trial by the manner of discovery production, given that
the “overwhelming majority” of discovery was taken from defendants’ computers, and the
government had provided “something of a guide to the electronic discovery,” including a detailed
“room-by-room inventory” of all items seized from defendants’ company. Id. at 296–97.
Similarly, in United States v. W.R. Grace, 401 F. Supp. 2d 1069, 1080 (D. Mont. 2005), the district
court refused to order the government to conduct a Brady/Giglio identification review of the
massive amounts of information acquired in that case. First noting that much of the produced
information was text searchable (as is the case here), the court found “most importantly” that the
individual defendants had access to corporate assistance in the search for exculpatory evidence,
the vast majority of documents at issue were corporate documents, and civil litigation had been
ongoing for years, making the search for documents that much easier. The United States has
provided a preliminary witness and exhibit list, “hot docs,” a comprehensive superseding
indictment, evidence (emails, agendas, etc.), Jencks Act statements, and extensive document
discovery disclosed in industry-standard, text-searchable format. The United States also has
discussed the government’s case and supporting evidence (and its relevance) in meetings with
some Defense lawyers and in several pleadings. (See, e.g., Docs. 446, 512.) In United States v.
Slade, 2011 WL 5291757, at *2 (D. Ariz. Sept. 30, 2011), the court approved of substantially
similar discovery efforts:

        The Government early on provided Defendants with its list of proposed witnesses,
        experts, and trial exhibits, and the discovery relating to that disclosure was
        provided. The fact that the Government’s discovery provided is vastly larger than
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        these documents, or the fact of this “surplusage” is of consequence because it
        divides the Defendants’ argument into two parts: (1) the Government has an
        obligation to organize and make readily searchable documents it has identified as
        documents supporting its prosecution, and (2) with respect to other documents in
        the Government’s possession and provided to Defendants, the Government has an
        obligation to organize that discovery and make it readily searchable. With respect
        to the former argument, this Court finds that the Government has complied with
        that obligation, and to the extent the Government’s organization and search features
        were inadequate, the Court granted Defendants’ request for discovery assistance.

As in Slade, counsel for Joy Vaught (Stephen Weiss) investigated whether the Defense could
receive financial assistance for discovery review, and he advised the Court that such discovery
assistance is “not only available for indigent defendants but also retained defendants.” (See Doc.
348, 10/5/18 Hr’g Tr., Vol II at 115-18.)

        Moreover, the Defendants and in many cases their counsel are intimately familiar with the
United States’ discovery for a couple of reasons. The Defendants authored, sent or received the
subject emails, appeared on management agendas, and discussed news and articles in emails
(including Nicholas Kristof’s coverage of Backpage in the New York Times, the clergy letter by
Auburn Seminary in the Times, and extensive news coverage of the December 2011 Detroit
Backpage quadruple murders, among numerous others). Further, the Defendants were aware of
and discussed television and other news media exposes (including broadcasts on CNN and
MSNBC) condemning Backpage’s business practices. Moreover, Backpage’s affiliate and
reciprocal link relationships (with The Erotic Review and “Dollar Bill”) were discussed at various
management meetings.

        Fourth, Defendants have had some of the same attorneys since at least 2012 (including
attorneys from Davis Wright Tremaine and Daniel Quigley), and Defendants and their attorneys
have been involved in assembling discovery in response to U.S. Senate subpoenas, federal and
state grand jury subpoenas, and numerous civil discovery requests during that time. And, again,
the documents (particularly the “hot docs”) are familiar to Mr. Larkin and other Backpage
defendants because they largely consist of internal Backpage documents that were authored, sent
or received by them. Moreover, as noted above, the government has voluntarily provided indexes,
“hot docs,” a preliminary witness list and a preliminary exhibit list with corresponding Bates
numbers for each exhibit. See, e.g., United States v. Kennedy, 64 F.3d, 1465, 1470-71 (10th Cir.
1995) (in affirming order denying defendants’ request for paralegals, the court noted that defense
counsel could rely on the assistance of defendant, who had “intimate familiarity” with many of the
documents because of his position as the former company CFO; additionally, “the government
provided extraordinary assistance during discovery…to enable the defense to review the repository
materials efficiently,” including indices and hot documents).

        With this background in mind, we address the subject matter of your requests as follows:
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        A. Backpage.com Website Generally

        Regarding the information you seek about the website, many of your requests for specific
information about data contained within the website have already been addressed by the United
States in previous correspondence or pleadings, or we have no obligation to conduct the search
and analysis you request. For example, we obviously do not share your view that Backpage
engaged in cooperation with law enforcement in screening and blocking ads. As set forth in the
Superseding Indictment, the PSI Report, numerous interviews (and plea agreements) of moderators
and other Backpage employees (including Hyer and Ferrer, among others), internal emails, and
other evidence, Backpage merely removed offending words, text or photos and posted the ad
knowing that the ad promoted prostitution. This practice was unknown to many law enforcement
agencies that contacted Backpage for assistance. Similarly, Backpage’s compliance with
subpoenas and providing testimony at criminal trials of sex traffickers (including child sex
traffickers) is hardly cooperation. It is (as we explained in previous correspondence) merely
avoiding contempt. (See Nov. 16, 2018 Letter to Michael Piccarreta.) Notably, we never received
a response to our position on this issue. In the final analysis, whether Backpage was sincerely
cooperating with law enforcement is ultimately a jury question.

       In addition, at trial, the United States will present evidence of the numerous subpoenas
served on Backpage and trial testimony by Backpage employees at various criminal trials, as it is
relevant to demonstrate the Defendants’ knowledge that they were operating a prostitution website.
If you have evidence, however, that contradicts the testimony and the evidence above, the
Defendants will have the opportunity to present it at trial.

        Also, law enforcement witnesses who provided commendations to Backpage for their
assistance on cases will testify at trial. We expect them to testify that had they known about
Backpage’s internal business practices (the financial relationship with The Erotic Review,
aggregation, moderation, other reciprocal link relationships, etc.) they would not have praised
Backpage but instead would have condemned the website and its operators.

        Your claim that Backpage was “a general purpose classified ad website and only a fraction
of the ads were posted in the adult categories” is a position, to put it mildly, at odds with numerous
internal emails and documents, PowerPoints prepared by Backpage employees (and often at the
direction of Mr. Lacey and Mr. Larkin), analytics tracking the volume of prostitution ads prepared
by Mr. Spear and discussed at management meetings, meeting agendas, witness interviews, the
PSI Report, revenue statements and bank records, among other evidence. In short, this position is
demonstrably false. As you well know, the adult section and “therapeutic” massage were the only
categories that charged for posting ads. After 2015, one could post an ad for free, but one paid to
repost it or make it more visible (e.g., pay for it to be a sponsored ad). Indeed, we expect the
evidence at trial to demonstrate that Mr. Larkin, in particular, acknowledged in several forums
(e.g., meetings with NCMEC, management meetings, internal emails, statements to employees, or
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other owners, etc.) that Backpage could not survive without the adult section and acknowledged
it was Backpage’s primary source of revenue.

        Lastly, regarding your requests regarding referrals to NCMEC, we direct you to the
interviews of NCMEC employees and Backpage’s internal emails (many of which were provided
by the Defendants to the United States, the Senate PSI, the California Department of Justice, and
others). But, again, you are free to conduct your own analysis of the servers’ data.

        B. Moderation

        Regarding Backpage’s moderation practices, you are requesting data about blocked,
revised and removed ads. Once again, we do not agree with your position, but you are free to
conduct your own analysis. Your request, however, is based on the false premise that each original
ad is available in the database for review to determine what changes, if any, were made to it.
However, as stated on p. 26 (fn. 161) of the PSI Report, the original ads generally were not retained
by Backpage. In addition, your request for blocked ads, etc., ignores the fact documented on pp.
34-36 of the PSI Report that, beginning in 2012, the primary method for keeping banned terms off
of the site was educating the users by keeping them from posting the ad if it contained a banned
term. In any event, you will need to conduct your own analysis to determine what specific terms
or photos were flagged for editing.

          As you know, moderation (in the domestic markets) largely ceased in 2015 when most of
the moderators were terminated. There was moderation, however, located in the Philippines, but
those moderators primarily reviewed ads (and aggregated ads from other prostitution websites)
posted in international markets. From 2015 until the seizure of the website in April 2018,
moderation was drastically reduced, along with staffing. In other words, ads resembling the ads
pre-2015, that contained terms that were obviously solicitations for prostitution, remained on the
website. In 2017, the adult category was shut down and the prostitution ads migrated to the
personals section where, again, little to no moderation was conducted. We expect the evidence at
trial to show that ads lacking moderation were much more explicit and there was no doubt that
they were solicitations for prostitution. Lastly, shortly before the shut down of Backpage in April
2018, Backpage decided (likely based on increased civil and criminal pressure and financial
considerations) to allow posters to include just a photo, a link, and a phone number.

        C. Reciprocal Link and Affiliate Programs

        Similar to our response above, you will need to conduct your own analysis of the data to
determine the frequency of the affiliate program. Mr. Larkin’s knowledge of The Erotic Review,
however, is detailed in Doc. 446. As you know, he was confronted with several Backpage ads for
trafficked children that included links or references to TER reviews, and with corresponding TER
reviews, during a March 2011 meeting at NCMEC. At the meeting, Mr. Larkin disavowed any
knowledge of the TER website. (Doc. 446 at 11-12; Doc. 446-1 at 40-62.) Yet, years prior to that
meeting, Mr. Larkin alerted both Mr. Spear and Mr. Ferrer to TER’s owner (David Elms) February
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2009 arrest for prostitution activity by forwarding a newspaper article detailing his arrest. (Doc.
446 at 11-12; Doc. 446-1 at 70-72.) Lastly, his own paper published an article about the arrest.
(Doc. 446-1 at 65-69.) Despite Elm’s arrest, Backpage’s relationship with TER continued
unabated for a couple of more years. Based on pressure from NCMEC and others, Backpage
discontinued this relationship but still allowed posters to include their TER identification numbers
(without a blatant reference to TER) and/or state, for example, that the poster been “well reviewed”
or “google my reviews.” (See Doc. 446-1 at 73-74.) As for your request for data regarding
Backpage’s affiliate relationship with “Dollar Bill,” once again we are under no obligation to
retrieve and analyze this data from the available discovery on behalf for the defense.

        D. Ads Supporting Substantive Counts

        Your understanding is not fully accurate regarding the origin of the subject ads in the
indictment, as it is based on a false premise. Most of the ads were not obtained by the “Wayback
Machine,” but rather from various law enforcement agencies via subpoena. Those law
enforcement witnesses are expected to testify and will detail how they obtained the subject ads
from Backpage during the course of their criminal investigations of prostitution on Backpage,
pimps and/or child sex traffickers. The irony that you are asking for instances of cooperation by
Backpage by providing compliance with various subpoenas and then disputing authenticity of ads
provided by Backpage (in response to a subpoena) is disingenuous. In any event, either the victim
or a former Backpage employee will testify to the authenticity of the victim’s ad or to the posting
of the ad. Unfortunately, in some cases, a family member (where the victim is no longer alive)
may testify to the ad.

        In addition, some of the victims were the subject of civil litigation where attorneys
representing Mr. Larkin in this case and other Backpage defendants had the opportunity to depose
the victim regarding their ad, among other topics. In short, we have directed you to relevant
evidence in the available discovery involving the subject victims. Any further analysis of the ads
will need to be conducted by the defense.

         Our response to the May 23rd letter may not—in your view—be satisfactory. If you choose
to file some type of pleading regarding discovery (or a response to our status memo), in fairness,
please attach this letter so that the Court has an understanding of our efforts to be responsive to
your requests and the authority we relied upon in addressing your various requests.

                                                     Sincerely,

                                                      MICHAEL BAILEY
                                                      U.S. Attorney
                                                      District of Arizona
                                                      s/ Kevin Rapp
                                                      KEVIN RAPP
                                                      Assistant U.S. Attorney
